118 F.3d 1578
    Sheet Metal Workers International Association Local 27Annuity, Health &amp; Welfare Fund, Richard Bonner, KennethLaursen, Charles Wiggs, Paul A. Amatuzio, Jr., CharlesRoselli, Brian E. Kiker, Robert N. Stoner, Edward S. Burke,Raymond Dinetta, Brian Kamp, Trustees and Fiduciaries for Local 27v.Shore Sheet Metal, Inc., Charles Nelson, LTM, Inc.
    NO. 95-5827
    United States Court of Appeals,Third Circuit.
    June 10, 1997
    
      Appeal From:  D.N.J. ,No.9205258
    
    
      1
      Motion Denied.
    
    